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                                19-20063-CR-COOKE/GOODMAN
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 did knowingly and willfully combine, conspire, confederate, and agree with each other, and others

 known and unknown to the Grand Jury to obstruct, delay, and affect commerce and the movement

 of articles and commodities in commerce, by means of robbery, as the terms "commerce" and

 "robbery" are defined in Title 18, United States Code, Section 1951(b)(l) and (b)(3), in that the

 defendants did unlawfully plan and agree to take plumbing equipment, United States currency, and

 other property from persons and in the presence of persons engaging in interstate and foreign

 commerce, against the will of those persons, by means of actual and threatened force and violence,

 and fear of injury to said persons, in violation of Title 18, United States Code, Section 1951 (a).

                                             COUNT2
                                         Hobbs Act Robbery
                                        (18 U.S.C. § 1951(a))

        On or about July 9, 2018, in Miami-Dade County, in the Southern District of Florida, the

 defendant,

                                     JAMAL LAMAR HEAD,

 did knowingly and unlawfully obstruct, delay, and affect commerce and the movement of articles

 and commodities in commerce, by means of robbery, as the terms "commerce" and "robbery" are

 defined in Title 18, United States Code, Section 1951(b)(l) and (b)(3), in that the defendant did

 unlawfully take plumbing equipment, United States currency, and other property from the person

 and in the presence of"P.T.B.," a person engaging in interstate and foreign commerce, against the

 will of "P.T.B.," by means of actual and threatened force and violence, and fear of injury to said

 person, in violation of Title 18, United States Code, Sections 1951(a) and 2.




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                                           COUNT3
                  Brandishing a Firearm in Furtherance of a Crime of Violence
                                  (18 U.S.C. § 924(c)(l)(A)(ii))

         On or about July 9, 2018, in Miami-Dade County, in the Southern District of Florida, the

  defendant,

                                      JAMAL LAMAR HEAD,

  did knowingly use and carry a firearm during and in relation to a crime of violence, and did

  knowingly possess a firearm in furtherance of a crime of violence, an offense for which the

  defendants may be prosecuted in a court of the United States, that is, a violation of Title 18, United

  States Code, Section 1951 (a), as charged in Count 2 of the Indictment, in violation of Title 18,

  United States Code, Sections 924(c)(l)(A) and 2.

         Pursuant to Title 18, United States Code, Section 924(c)(1 )(A)(ii), it is further alleged that

  the firearm was brandished.

                                              COUNT4
                                          Hobbs Act Robbery
                                         (18 U.S.C. § 1951(a))

         On or about July 11, 2018, in Palm Beach County, in the Southern District of Florida, the

  defendants,

                                   JAMAL LAMAR HEAD,
                                 KEON TRAVY GLANTON, and
                                CHRISTOPHER GRANT PROBY,

  did knowingly and unlawfully obstruct, delay, and affect commerce and the movement of articles

  and commodities in commerce, by means of robbery, as the terms "commerce" and "robbery" are

  defined in Title 18, United States Code, Section 1951(b)(l) and (b)(3), in that the defendants did

  unlawfully take plumbing equipment, United States currency, and other property from the person

  and in the presence of "D.S.," a person employed by Roto-Rooter, a business and company



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 operating in interstate and foreign commerce, against the will of "D.S.," by means of actual and

 threatened force, violence, and fear of injury to said person, in violation of Title 18, United States

 Code, Sections 1951(a) and 2.

        Pursuant to 18 U.S.C. § 25, it is further alleged that a minor was used to commit this crime.

                                          COUNTS
                 Brandishing a Firearm in Furtherance of a Crime of Violence
                                 (18 U.S.C. § 924(c)(l)(A)(ii))

        On or about July 11, 2018, in Palm Beach County, in the Southern District of Florida, the

 defendants,

                                  JAMAL LAMAR HEAD,
                                KEON TRAVY GLANTON, and
                               CHRISTOPHER GRANT PROBY,

 did knowingly use and carry a firearm during and in relation to a crime of violence, and did

 knowingly possess a firearm in furtherance of a crime of violence, an offense for which the

 defendants may be prosecuted in a court of the United States, that is, a violation of Title 18, United

 States Code, Section 1951 (a), as charged in Count 4 of the Indictment, in violation of Title 18,

 United States Code, Sections 924(c)(l)(A) and 2.

        Pursuant to Title 18, United States Code, Section 924(c)(1 )(A)(ii), it is further alleged that

 the firearm was brandished.

                                             COUNT6
                                        Hobbs Act Robbery
                                        (18 U.S.C. § 195l(a))

        On or about July 12, 2018, in Miami-Dade County, in the Southern District of Florida, the

 defendants,

                                   JAMAL LAMAR HEAD and
                                   KEON TRAVY GLANTON,




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  did knowingly and unlawfully obstruct, delay, and affect commerce and the movement of articles

  and commodities in commerce, by means of robbery, as the terms "commerce" and "robbery" are

  defined in Title 18, United States Code, Section 1951(b)(l) and (b)(3), in that the defendants did

  unlawfully take plumbing equipment, United States currency, and other property from the person

  and in the presence of"L.S.H.," a person engaging in interstate and foreign commerce, against the

  will of "L.S.H.," by means of actual and threatened force, violence, and fear of injury to said

  person, in violation of Title 18, United States Code, Sections 1951(a) and 2.

                                           COUNT7
                                  Kidnapping Resulting in Death
                                        18 u.s.c. § 1201'

         On or about July 12, 2018, in Miami-Dade County, in the Southern District of Florida, the

  defendants,

                                   JAMAL LAMAR HEAD and
                                   KEON TRAVY GLANTON,

  did willfully and unlawfully seize, confine, inveigle, decoy, kidnap, abduct, and carry away and

  hold any person, that is, "L.S.H.," and attempt to seize, confine, inveigle, decoy, kidnap, abduct,

  and carry and hold any person, that is, "L.S.H.," and hold that person for reward and otherwise,

  that is, a 2003 White Chevrolet Van, plumbing equipment, and other property, and did use any

  means, facilities, and instrumentalities of interstate commerce, that is, cellular telephones and a

  motor vehicle, in furtherance of this offense, with the death of "L.S.H." resulting; in violation of

  Title 18, United States Code, Sections 1201(a)(l) and 2.




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l
I                                                COUNTS
                                        Carjacking Resulting in Death
1                                            18 u.s.c. § 2119(3)
l
I
             On or about July 12, 2018, in Miami-Dade County, in the Southern District of Florida, the
I     defendants,

I                                       JAMAL LAMAR HEAD and
!                                       KEON TRAVY GLANTON,

      with the intent to cause death and serious bodily harm, did take a motor vehicle that had been

      transported, shipped, and received in interstate and foreign commerce, that is, a 2003 White

      Chevrolet Van, from the person and in the presence of another, that is, "L.S.H.," by force and

      intimidation, and with the death of"L.S.H." resulting; in violation of Title 18, United States Code,

      Sections 2119(3) and 2.

                                               COUNT9
                      Discharging a Firearm in Furtherance of a Crime of Violence
                                      (18 U.S.C. § 924(c)(l)(A)(iii))

             On or about July 12, 2018, in Miami-Dade County, in the Southern District of Florida, the

      defendants,

                                        JAMAL LAMAR HEAD and
                                        KEON TRAVY GLANTON,

      did knowingly use and carry a firearm during and in relation to a crime of violence, and did

      knowingly possess a firearm in furtherance of a crime of violence, an offense for which the

      defendants may be prosecuted in a court of the United States, that is, for violations of Title 18,

      United States Code, Sections 1951(a), 1201(a)(l), and 2119(3), as charged in Counts 6, 7, and 8

      of the Indictment, in violation of Title 18, United States Code, Sections 924( c)(1 )(A) and 2.

             Pursuant to Title 18, United States Code, Section 924( c)(1 )(A)(iii), it is further alleged that

      the firearm was discharged.



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                                          COUNT 10
                             Causing the Death of a Person in the
                           Course of a Violation of 18 U.S.C. § 924(c)
                             (18 U.S.C. § 924(c)(l)(A) and (j)(l))

        On or about July 12, 2018, in Miami-Dade County, in the Southern District of Florida, the

 defendants,

                                  JAMAL LAMAR HEAD and
                                  KEON TRAVY GLANTON,

 did knowingly use and carry a firearm during and in relation to a crime of violence, and did

 knowingly possess a firearm in furtherance of a crime of violence, an. offense for which the

 defendants may be prosecuted in a court of the United States, that is, for violations of Title 18,

 United States Code, Sections 1951(a), 1201(a)(l), and 2119(3), as charged in Counts 6. 7, and 8

 of the Indictment; and in the course of this violation of Title 18, United States Code, Section

 924(c), caused the death of a person, "L.S.H.," through the use of a firearm, which killing was a

 murder as defined in Title 18, United States Code, Section 1111, in violation of Title 18, United

 States Code, Sections 924(c)(l)(A), 9240)(1), and 2.

                                          COUNT 11
                Possession of a Firearm and Ammunition by a Convicted Felon
                                     (18 u.s.c. § 922(g)(l))

        On or about July 12, 2018, in Miami-Dade County, in the Southern District of Florida, the

 defendant,

                                   JAMAL LAMAR HEAD,

 having been previously convicted of a crime punishable by imprisonment for a term exceeding

 one year, did knowingly possess a firearm and ammunition in and affecting interstate and foreign

 commerce, in violation of Title 18, United States Code, Section 922(g)(l).




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                                             COUNT 12
                                               Arson
                                         (18 u.s.c. § 844(i))

         On or about July 12, 2018, in Miami-Dade County, in the Southern District of Florida, the

 defendants,

                                   JAMAL LAMAR HEAD and
                                   KEON TRAVY GLANTON,

 did maliciously damage and destroy, and attempt to damage and destroy, and cause to be damaged

 and destroyed by means of fire, a vehicle, that is, a 2003 White Chevrolet Van, and other real and

 personal property, which vehicle and other real and personal property were used in interstate and

 foreign commerce and in any activities affecting interstate and foreign commerce, in violation of

 Title 18, United States Code, Sections 844(i) and 2.

                                 FORFEITURE ALLEGATIONS

        1.      The allegations of this Indictment are re-alleged and by this reference fully

 incorporated herein for the purpose of alleging criminal forfeiture to the United States of America

 of certain property in which the defendants, JAMAL LAMAR HEAD, KEON TRAVY

 GLANTON, and CHRISTOPHER GRANT PROBY, have an interest.

        2.      Upon conviction of a violation of, or conspiracy to violate, Title 18, United States

 Code, Section 1951(a), as alleged in this Indictment, the defendants shall each forfeit to the United

 States of America, any property, real or personal, which constitutes or is derived from proceeds

 traceable to such offense, pursuant to Title 18, United States Code, Section 981(a)(l)(C), which is

 made criminally applicable by Title 28, United States Code, Section 2461(c).

        3.      Upon conviction of a violation of Title 18, United States Code, Sections 922(g)(l ),

 924(c), and/or any other criminal law of the United States, as alleged in this Indictment, the

 defendants shall each forfeit to the United States of America, any firearm and ammunition involved


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 in or used in the commission of such offense, pursuant to Title 18, United States Code, Section

 924(d)(l), which is made criminally applicable by Title 28, United States Code, Section 2461(c).

        4.      Upon a conviction of a violation of Title 18, United States Code, Section 1201, as

 alleged in this Indictment, the defendants shall each forfeit to the United States any property, real

 or personal, which represents or is traceable to gross proceeds obtained, directly or indirectly as a

 result of such violation, pursuant to Title 18, United States Code, Section 981 (a)(l )(C).

        5.      Upon a conviction of a violation of Title 18, United States Code, Section 2119, as

 alleged in this Indictment, the defendants shall each forfeit to the United States any property, real

 or personal, which represents or is traceable to gross proceeds obtained, directly or indirectly as a

 result of such violation, pursuant to Title 18, United States Code, Section 982(a)(5).

        6.      Upon conviction of a violation of Title 18, United States Code, Section 844(i), as

 alleged in this Indictment, the defendants shall each forfeit to the United States any property, real

 or personal, which constitutes or is derived from proceeds traceable to such violation, and any

 explosive materials used or intended to be used in such violation, pursuant to Title 18, United

 States Code, Sections 844(c) and 981(a)(l)(C), which is made criminally applicable by Title 28,

 United States Code, Section 2461 (c).

        All pursuant to Title 18, United States Code, Sections 924(d)(l), 981(a)(l)(C), and

 982(a)(5), and the procedures set forth at Title 21, United States Code, Section 853, as incorporated

 by Title 18, United States Code, Section 982(b)(1) and Title 28, United States Code, Section

 2461(c).




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                                  NOTICE OF SPECIAL FINDINGS

          The Grand Jury finds that:

  I.      Special findings as to Count 7

          Pursuant to Chapter 228 (Sections 3591 through 3599) of Title 18 of the United States

  Code, the following factors exist regarding defendants JAMAL LAMAR HEAD and KEON

  TRAVY GLANTON and their commission of the offenses charged in Count 7, the allegations of

  which are fully re-alleged and incorporated herein by this reference.

  A.     Statutory Factors Enumerated Under Title 18, United States Code, Section 3591(a).

          1.        Defendants' Ages. Defendants JAMAL LAMAR HEAD and KEON TRAVY

  GLANTON were each 18 years of age or older at the time they committed the offense. Title 18,

  United States Code, Section 3591(a).

         2.         Defendants' Mental State.

                    a.     Defendant JAMAL LAMAR HEAD intentionally killed the victim,

  "L.S.H." Title 18, United States Code, Section 3591(a)(2)(A).

                    b.     Defendant JAMAL LAMAR HEAD intentionally inflicted serious bodily

  injury that resulted in the death of the victim, "L.S.H." Title 18, United States Code, Section

  3591 (a)(2)(B).

                    c.     Defendant JAMAL .LAMAR HEAD intentionally participated in an act,

  contemplating that the life of a person would be taken or intending that lethal force would be used

  in connection with a person, other than one of the participants in the offense, and the victim

  "L.S.H.," died as a direct result of the act. Title 18, United States Code, Section 3591(a)(2)(C).

                    d.     Defendants JAMAL LAMAR HEAD and KEON TRAVY GLANTON

  intentionally and specifically engaged in an act of violence, knowing the act created a grave risk



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  of death to a person, other than one of the participants in the offense, such that participation in the   I
  act constituted a reckless disregard for human life and the victim, "L.S.H.," died as a direct result

  of the act. Title 18, United States Code, Section 3591(a)(2)(D).
                                                                                                            I
  B.     Statutory Factors Enumerated Under Title 18, United States Code, Section 3592(c).

         1.      Death during commission of another crime. The death, or injury resulting in death,         I
  occurred during the commission or attempted commission of, or during the immediate flight from

  the commission of another crime, that is, an offense under 18 U.S.C. § 1201(a)(l) (Kidnapping).

  18 U.S.C. § 3592(c)(l).

         2.      Previous conviction of violent felony involving firearm. Defendant JAMAL

  LAMAR HEAD was previously convicted of a State offense punishable by a term of

  imprisonment of more than 1 year, involving the use or attempted or threatened use of a firearm

  against another person. 18 U.S. C. § 3592(c)(2).

         3.      Pecuniary Gain. Defendants JAMAL LAMAR HEAD and KEON TRAVY

  GLANTON committed the offense in the expectation of the receipt of anything of pecuniary

  value. Title 18, United States Code, Section 3592(c)(8).

         4.      Substantial Planning and Premeditation. Defendants JAMAL LAMAR HEAD

  and KEON TRAVY GLANTON committed the offense after substantial planning and
                                                                                                            I
  premeditation to cause the death of a person. Title 18, United States Code, Section 3592(c)(9).
                                                                                                            I
  II.    Special findings as to Count 8
                                                                                                            I
                                                                                                            I
         Pursuant to Chapter 228 (Sections 3591 through 3599) of Title 18 of the United States

  Code, the following factors exist regarding defendants JAMAL LAMAR HEAD and KEON

  TRAVY GLANTON and their commission of the offenses charged in Count 8, the allegations of

  which are fully re-alleged and incorporated herein by this reference.



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  A.      Statutory Factors Enumerated Under Title 18, United States Code, Section 3591(a).

          1.        Defendants' Ages. Defendants JAMAL LAMAR HEAD and KEON TRAVY

  GLANTON were each 18 years of age or older at the time they committed the offense. Title 18,

  United States Code, Section 3591 (a).

         2.         Defendants' Mental State.

                    a.     Defendant JAMAL LAMAR HEAD intentionally killed the victim,

  "L.S.H." Title 18, United States Code, Section 3591(a)(2)(A).

                    b.     Defendant JAMAL LAMAR HEAD intentionally inflicted serious bodily

  injury that resulted in the death of the victim, "L.S.H." Title 18, United States Code, Section

  3591 (a)(2)(B).

                    c.     Defendant JAMAL LAMAR HEAD intentionally participated in an act,

  contemplating that the life of a person would be taken or intending that lethal force would be used

  in connection with a person, other than one of the participants in the offense, and the victim,

  "L.S.H.," died as a direct result of the act. Title 18, United States Code, Section 3591(a)(2)(C).

                    d.     Defendants JAMAL LAMAR HEAD and KEON TRAVY GLANTON

  intentionally and specifically engaged in an act of violence, knowing the act created a grave risk

 of death to a person, other than one of the participants in the offense, such that participation in the

  act constituted a reckless disregard for human life and the victim, "L.S.H.," died as a direct result

 ofthe act. Title 18, United States Code, Section 359l(a)(2)(D).

 B.      Statutory Factors Enumerated Under Title 18, United States Code, Section 3592(c).

         1.         Death during commission of another crime. The death, or injury resulting in death,

  occurred during the commission or attempted commission of, or during the immediate flight from

 the commission of another crime, that is, an offense under 18 U.S.C. §1201(a)(l) (Kidnapping).



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         2.      Previous conviction of violent felony involving firearm. Defendant JAMAL

  LAMAR HEAD was previously convicted of a State offense punishable by a term of

  imprisonment of more than 1 year, involving the use or attempted or threatened use of a firearm

  against another person. 18 U.S.C. § 3592(c)(2).

         3.      Pecuniary Gain.    Defendants JAMAL LAMAR HEAD and KEON TRAVY

  GLANTON committed the offense in the expectation of the receipt of anything of pecuniary

  value. Title 18, United States Code, Section 3592(c)(8).

         4.      Substantial Planning and Premeditation. Defendants JAMAL LAMAR HEAD

  and KEON TRAVY GLANTON committed the offense after substantial planning and

  premeditation to cause the death of a person. Title 18, United States Code, Section 3592(c)(9).

  III.   Special findings as to Count 10

         Pursuant to Chapter 228 (Sections 3591 through 3599) of Title 18 of the United States

  Code, the following factors exist regarding defendants JAMAL LAMAR HEAD and KEON

  TRAVY GLANTON and their commission of the offenses charged in Count 10, the allegations

  of which are fully re-alleged and incorporated herein by this reference.

  A.     Statutory Factors Enumerated Under Title 18, United States Code, Section 3591(a).

         1.      Defendants' Ages. Defendants JAMAL LAMAR HEAD and KEON TRAVY

  GLANTON were each 18 years of age or older at the time they committed the offense. Title 18,

  United States Code, Section 3591(a).

         2.      Defendants' Mental State.

                 a.     Defendant JAMAL LAMAR HEAD intentionally killed the victim,

  "L.S.H." Title 18, United States Code, Section 3591(a)(2)(A).




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                                                                                                           f

                  b.     Defendant JAMAL LAMAR HEAD intentionally inflicted serious bodily

 injury that resulted in the death of the victim, "L.S.H." Title 18, United States Code, Section           I
 3591(a)(2)(B).

                  c.     Defendant JAMAL LAMAR HEAD intentionally participated in an act,
                                                                                                           I
                                                                                                           f




 contemplating that the life of a person would be taken or intending that lethal force would be used

 in connection with a person, other than one of the participants in the offense, and the victim,

 "L.S.H.," died as a direct result of the act. Title 18, United States Code, Section 3591(a)(2)(C).

                  d.     Defendants JAMAL LAMAR HEAD and KEON TRAVY GLANTON

 intentionally and specifically engaged in an act of violence, knowing the act created a grave risk

 of death to a person, other than one of the participants in the offense, such that participation in the

 act constituted a reckless disregard for human life and the victim, "L.S.H.," died as a direct result

 of the act. Title 18, United States Code, Section 3591(a)(2)(D).

 B.     Statutory Factors Enumerated Under Title 18, United States Code, Section 3592(c).

         1.       Death during commission of another crime. The death, or injury resulting in death,

 occurred during the commission or attempted commission of, or during the immediate flight from

 the commission of another crime, that is, an offense under 18 U.S.C. §1201(a)(l) (Kidnapping).

        2.        Previous conviction of violent felony involving firearm. Defendant JAMAL

 LAMAR HEAD was previously convicted of a State offense punishable by a term of

 imprisonment of more than 1 year, involving the use or attempted or threatened use of a firearm

 against another person. 18 U.S.C. § 3592(c)(2).

        3.        Pecuniary Gain. Defendants JAMAL LAMAR HEAD and KEON TRAVY

 GLANTON committed the offense in the expectation of the receipt of anything of pecuniary

 value. Title 18, United States Code, Section 3592(c)(8).



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        4.      Substantial Planning and Premeditation. Defendants JAMAL LAMAR HEAD

 and KEON TRAVY GLANTON committed the offense after substantial planning and

 premeditation to cause the death of a person. Title 18, United States Code, Section 3592(c)(9).



                                             A TRUE BILL




                                             FOREPERSON
                                                                   lf\/

 ARIANA FAJARDO ORSHAN \
 UNITED STATES ATTORNEY




 ASSISTANT UNITED STATES ATTORNEY




 ASSISTANT UNITED STATES ATTORNEY




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UNITED ST ATES OF AMERICA
                                                   UNITED STAT~S DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA

                                                                CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                             I
                                                                                                                             f


                                                                                                                             I
 v.
                                                                CERTIFICATE OF TRIAL ATTORNEY*
Jamal Lamar Head, et al.,
                                                                Superseding Case Information:                                I
                                  Defendants.

Court Division:   (Select One)                                  New defendant(s)           Yes     No
 1     Miami                     Key West                       Number of new defendants
       FTL                       WPB            FTP             Total number of counts

        1.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this
                  Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                  Act, Title 28 U.S.C. Section 3161.
        3.        Interpreter:    (Yes or No)              No
                  List language and/or dialect
        4.        This case will take _lL days for the parties to try.
        5.         Please check appropriate category and type of offense listed below:

                  (Check only one)                                     (Check only one)


        I         0 to 5 days                                          Petty
        II        6 to 10 days                                         Minor
        III       11 to 20 days                                        Misdem.
        IV        21 to 60 days                       ./               Felony              ./

        v         61 days and over
        6.       Has this case previously been filed in this District Court?      (Yes or No)     No
         If yes: Judge                                     Case No.
                                                                         --~----~--~-~~

         (Attach copy of dispositive order)
         Has a complaint been filed in this matter?         (Yes or No)      No
         If yes: Magistrate Case No.
         Related miscellaneous numbers:
         Defendant(s) in federal custody as of
         Defendant(s) in state custody as of                Head and Glanton- 7/27/2018: Probv- 11/12/2018
         Rule 20 from the District of
         Is this a potential death penalty case? (Yes or No)

        7.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                   prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No '

         8.        Does this case originate from a matter pending in the Northern Region U.S. Attorney's Office
                   prior to August 8, 2014 (Mag. Judge Shaniek Mayn       ?        Yes            No '




                                                                        ASSISTANT UNITED STATES ATTORNEY
                                                                        Florida Bar No. 0114104
 *Penalty Sheet(s) attached                                                                                  REV 8113/2018
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                       PENALTY SHEET

                           JAMAL LAMAR HEAD



 Count#: 1

 Conspiracy to Commit Hobbs Act Robbery

 Title 18, United States Code, Section 1951 (a)

 *Max. Penalty: Twenty Years' Imprisonment

 Count#: 2

 Hobbs Act Robbery

 Title 18, United States Code, Section 1951(a)

 *Max. Penalty: Twenty Years' Imprisonment

 Count#: 3

 Brandishing of a firearm in furtherance of a crime of violence

 Title 18, United States Code, Section 924(c)(l)(A)(ii)

 *Max. Penalty: Life Imprisonment

 Count#: 4

 Hobbs Act Robbery and Use of a Minor in Furtherance of a Crime of Violence

 Title 18, United States Code, Sections 195l(a) and 25

 *Max. Penalty: Forty Years' Imprisonment
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 Count#: 5

 Brandishing of a firearm in furtherance of a crime of violence

 Title 18, United States Code, Section 924(c)(l)(A)(ii)

 *Max. Penalty: Life Imprisonment

 Count#: 6

 Hobbs Act Robbery

 Title 18, United States Code, Section 1951(a)

 *Max. Penalty: Twenty Years' Imprisonment

 Count#: 7

 Kidnapping Resulting in Death

 Title 18, United States Code, Section 1201(a)(l)

 *Max. Penalty: Death or Life Imprisonment

 Count#: 8

 Carjacking Resulting in Death

 Title 18, United States Code, Section 2119(3)

 *Max. Penalty: Death or Life Imprisonment

 Count#: 9

 Discharging a Firearm in Furtherance of a Crime of Violence

 Title 18, United States Code, Section 924(c)(l)(A)(iii)

 *Max. Penalty: Life Imprisonment
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 Count#: 10

 Causing the Death of a Person in the Course of a Violation of 18 U.S.C. § 924(c)

 Title 18, United States Code, Section 924(c)(l)(A) and G)(l)

 *Max. Penalty: Death or Life Imprisonment

 Count#: 11

 Possession of a Firearm and Ammunition by a Convicted Felon
                                                                                                  1
 Title 18, United States Code, Section 922(g)                                                    '
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 *Max. Penalty: Ten Years' Imprisonment

 Count#: 12

 Arson

 Title 18, United States Code, Section 844(i)

 *Max. Penalty: Ten Years' Imprisonment


 *Refers only to possible term of incarceration, does not include possible fines, restitution,
 special assessments, parole terms, or forfeitures that may be applicable.
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                       PENALTY SHEET

                           KEON TRAVY GLANTON



 Count#: 1

 Conspiracy to Commit Hobbs Act Robbery

 Title 18, United States Code, Section 1951(a)

 *Max. Penalty: Twenty Years' Imprisonment

 Count#: 4

 Hobbs Act Robbery and Use of a Minor in Furtherance of a Crime of Violence

 Title 18, United States Code, Sections 195l(a) and 25

 *Max. Penalty: Forty Years' Imprisonment

 Count#: 5

 Brandishing of a firearm in furtherance of a crime of violence

 Title 18, United States Code, Section 924(c)(l)(A)(ii)

 *Max. Penalty: Life Imprisonment

 Count#: 6

 Hobbs Act Robbery

 Title 18, United States Code, Section 1951(a)

 *Max. Penalty: Twenty Years' Imprisonment
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 Count#:?                                                                                        I
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 Kidnapping Resulting in Death                                                                   l
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 Title 18, United States Code, Section 1201(a)(l)

 *Max. Penalty: Death or Life Imprisonment


 Count#: 8

 Carjacking Resulting in Death

 Title 18, United States Code, Section 2119(3)

 *Max. Penalty: Death or Life Imprisonment

 Count#: 9

 Discharging a Firearm in Furtherance of a Crime of Violence

 Title 18, United States Code, Section 924(c)(1 )(A)(iii)

 *Max. Penalty: Life Imprisonment

 Count#: 10

 Causing the Death of a Person in the Course of a Violation of 18 U .S.C. § 924( c)

 Title 18, United States Code, Section 924(c)(l)(A) and (j)(l)

 *Max. Penalty: Death or Life Imprisonment

 Count#: 12

 Arson

 Title 18, United States Code, Section 844(i)

 *Max. Penalty: Ten Years' Imprisonment


 *Refers only to possible term of incarceration, does not include possible fines, restitution,
 special assessments, parole terms, or-forfeitures that may be applicable.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

 Defendant's Name:          CHRISTOPHER GRANT PROBY

 Case No:

 Count#: 1

 Conspiracy to Commit Hobbs Act Robbery

 Title 18, United States Code, Section 1951(a)

 *Max. Penalty: Twenty Years' Imprisonment

 Count#: 4

 Hobbs Act Robbery and Use of a Minor in Furtherance of a Crime of Violence

 Title 18, United States Code, Sections 1951(a) and 25

 *Max. Penalty: Forty Years' Imprisonment

 Count#: 5

 Brandishing of a firearm in furtherance of a crime of violence

 Title 18, United States Code, Section 924( c)(1 )(A)(ii)

 *Max. Penalty: Life Imprisonment


 *Refers only to possible term of incarceration, does not include possible fines, restitution,
 special assessments, parole terms, or forfeitures that may be applicable.
